                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                           No: 23-1457

                                   United States of America

                                                      Appellee

                                                 v.

                                    State of Missouri, et al.

                                                      Appellants

                                    ------------------------------

                               Missouri Firearms Coalition, et al.

                                       Amici on Behalf of Appellant(s)

                          Brady Center to Prevent Gun Violence, et al.

                                       Amici on Behalf of Appellee(s)


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     Appeal from U.S. District Court for the Western District of Missouri - Jefferson City
                                  (2:22-cv-04022-BCW)
______________________________________________________________________________

                                             ORDER

       The motion for stay of judgment and injunction pending appeal is denied.



                                                        September 29, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans




   Appellate Case: 23-1457        Page: 1        Date Filed: 09/29/2023 Entry ID: 5321229
